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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

-------------------------------------x
BARBARA SCHULTZ,

                      Plaintiff,                    17 Civ. 8917          (RWS)

     -against-                                             OPINION

MARTIN CHEN,

                      Defendant.
-------------------------------------x .                           ..,   ......... .... ,,. . ......,

APPEARANCES:


          Attorneys for Plaintiff

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Sweet, D.J.



           Plaintiff Barbara Schultz ("Schultz " or the

"Plaintiff") has moved pursuant to Federal Rule of Ci vil

Procedure 56 for summary judgment against Defendant Martin Chen

("Chen" or the "Defendant"). Plaintiff seeks recovery for

personal injuries sustained as the result of a December 4, 2016

motor vehicle accident that occurred on Central Park West

between West 94 th Street and West 95 th Street in New York City.

Based on the facts and conclusions set forth below, Plaintiff's

motion for summary judgment is granted.



I.   Prior Proceedings



           Plaintiff filed the complaint (the "Complaint") on

November 15, 2017 against Defendant, alleging claims of

negligence as a matter of law in violation of Vehicle and

Traffic Law§ 1129(a), and as a matter of common law .           (See Dkt.

No. 1.) On December 19, 2017 , Plaintiff moved for summary

judgment. The instant motion was heard and marked fully

submitted on February 15l 2018.




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II.    The Facts



                Th e fa ct s hav e been set f o rth in Plaintiff's and

Defendant's Sta t eme nts Pursuant to Local Civil Rule 5 6 .l (a ) , and

are not in dispute e x cept as noted below.



                Defendant is the owner and operator o f a 2 013

Vo lkswagen bearing li c ense plate number GBC 6 98 9 (the "Chen

Ve hicle" ) .    ( Chen Af f. ':II 3 1 .) On De c ember 4, 2016, at dusk, the

Chen Vehicle struck a motor vehi c l e operated b y Plaintiff's

husband (the "Schultz Vehicle"), o f which Plaintiff was a fr o nt

seat passenger.         ( See B. Sc hultz Aff. ':II 4; P. Sc hultz Aff. ':II 4;

Chen Af f. ':II 3 . )



                Pri o r to the accident, at appro x imat e l y 5:00 p.m., Mr.

Schultz had stopped the Sc hultz Vehicle in fr o nt o f 350 Central

Park West between West 94 th Street and We st 9 5 th Stre et to drop

Plaintiff o ff at a relati v e's apartment. 2 (See B. Sc hultz Aff. ':II

2; P. Sc hultz Aff. ':II 2.) Once Plaintiff left the vehicle, Mr.


        Ci tations to " B. Schul t z Aff ." refer to the affidavit of Plaintiff
Barbara Schultz dated December 13 , 2017 , (Ex . C, Dkt . No . 7 ) , citat i ons to
"P . Schu l tz Aff ." r e fer to t he affidavit o f Pl aintif f' s husband , K. Paul
Schultz , dated December 13 , 2017 , (Ex . D, Dkt . No . . 7 ) , and citations t o " Chen
Af f." refer to the affidavit of Defendan t Chen , dated January 11 , 2018 , (Ex .
A, Dkt . No . 14) .
2
        Central Park We s t between West 94 th Street and West 95 th Street i n New
York Ci ty is a two - way r oad with two lanes for trave l. (See B . Schultz Aff . 1
3 ; P . Schultz Aff . 1 3 . ) A third l ane i n each di r ect i on is dedicated
exclus ively to parking . (See P . Schultz Aff . 1 4 ; B. Schultz Aff . 1 4 . )

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Schultz intended to either park the car in an open spot on a

side street or in a parking garage.            (See B. Schultz Aff.       ~   3; P.

Schultz Aff.    ~   3.) In light of the fact that there were vehicles

in the southbound parking lane in front of 350 Central Park

West, Mr. Schultz stopped the vehicle in the rightmost lane for

southbound travel.        (See B. Schultz Aff.     ~   4; P. Schultz Aff.        ~


4.)




             Plaintiff alleges that Mr. Schultz activated the

vehicle's blinking rear lights as he approached the building,

and then brought the vehicle to a stop in fro~t of 350 Central

Park West.    (See B. Schultz Aff.       ~   5; P. Schultz Aff.     ~   5.)

Plaintiff further alleges that Mr. Schultz did not turn off the

blinking rear lights.        (See B. Schultz Aff.      ~   6; P. Schultz Aff.

~   6.) Defendant contests that the Schultz Vehicle's lights were

ever blinking.      (Chen Aff.   ~   5.) The Schultz Vehicle remained in

this position for approximately one to two minutes while Mr.

Schultz and the Plaintiff had a discussion concerning packages

they had brought to a relative.          (See B. Schultz Aff.      ~    7; P.

Schultz Aff.    ~   7.)



             Defendant was traveling at a speed of 20 to 25 miles

per hour in the right lane of Central Park West when another car

that was directly in front of Defendant's vehicle, not the

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Schultz Vehicle, swerved suddenly into the left lane.            (Chen Aff.

1 5.) Defendant applied his brakes immediately after observing

the Schultz Vehicle, but was unable to stop his vehicle before

it struck the rear bumper of the Schultz Vehicle.            (Chen Aff. 1

6.) According to the Plaintiff, the Schultz Vehicle was stopped

in traffic when it was struck in the rear by the Chen Vehicle.

(See B. Schultz Aff. 1 8; P. Schultz Aff. 1 8.)



          Plaintiff suffered physical injuries as a result of

this collision.   (See id.) After the incident, the police arrived

at the scene.   (See B. Schultz Aff. 1 9; P. Schultz Aff. 1 9.)



III. The Applicable Standard



          Summary judgment is appropriate only where "there is

no genuine issue as to any material fact and .              . the moving

party is entitled to a judgment as a matter of law." Fed. R.

Civ. P. 56(c). A dispute is "genuine" if "the evidence is such

that a reasonable jury could return a verdict for the nonmoving

party." Anderson v. Liberty Lobby, Inc.,      477 U.S. 242, 248

(1986). The relevant inquiry on application for summary judgment

is "whether the evidence presents a sufficient disagreement to

require submission to a jury or whether it is so one-sided that

one party must prevail as a matter of law." Id. at 251-52. A

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court is not charged with weighing the evidence and determining

its truth, but with determining whether there is a genuine issue

for trial. Westinghouse Elec. Corp . v. N.Y.C.           Transit Auth., 735

F. Supp. 12 05 , 1212 (S .D.N. Y. 1990)      (quoting Anderson , 477 U.S.

at 249) . "The moving party is 'e ntitled to a judgment as a

matter of law' because the nonmoving party has failed to make a

sufficient showing on an essential element of her case with

respect to which she has the burden of proof." Celotex Corp. v.

Catrett , 477 U.S. 317 , 323 ( 1 986). "[T]he mere existence of some

alleged factual dispute between the parties will not defeat an

otherwise properly supported motion for summary judgment; the

requirement is that there be no genuine issue of material fact."

Anderson, 477 U.S. at 247 -4 8 (emphasis in origina l ) .




IV.   The Plaintiff's Motion for Summary Judgment is Granted



            Plaintiff alleges that Defendant acted negligently

both because he violated Section 1129(a) of the Vehicle and

Traffic Law, and because, as a matter of common law, it is well

settled that a rear-end collision with a stopped vehicle creates

a presumption that the operator of the moving vehicle was

negligent, and Defendant has not proffered a non - negligent

explanation for the collision. Accordingly, and because there

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are no material questions of fact,        Plaintiff argues that summary

judgment should be granted. Defendant argues that Plaintiff's

motion is premature because he has yet to be afforded an

opportunity to conduct discovery. Moreover, Defendant avers that

pursuant to Vehicle and Traffic Law Section 1202, a driver who

double parks bears responsibility for a collision arising from

such a violation.



            "It is well established law that a rear-end collision

with a stopped vehicle establishes a prima facie case of

negligence on part of the driver of the second vehicle." Polonia

v. Dunphy, No. 11 Civ. 1563 (CM), 2012 WL 2376467, at *3

(S.D.N.Y. June 21, 2012). This presumption arises both from

common law principles and from New York Vehicle and Traffi c Law. 3

Id. Moreover, "[t]his rule applies even in situations when the

front car has come to a stop after changing lanes." Id.              (c iting

Cohen v. Terranella,     112 A.D.2d 264, 491 N.Y.S.2d 711 (2d Dep't

1985)). For rear-end collisions, "[a] defendant can overcome the

presumption of negligence by providing a non-negligent

explanation for the collision," see Krynski v. Chase , 707 F.

Supp. 2d 318, 322 (E.D.N.Y. 2009), such as "mechanical failure,


      New York Vehicle and Traffic Law§ 1129(a) provides that : "The driver
of a motor vehicle shall not follow another vehicle more closely than is
reasonable and prudent , having due regard for the speed of such vehicles and
the traffic upon and the condition of the highway ." N. Y. Veh . & Traf. Law§
1129 (McKinney).

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unavoidable skidding on wet pavement, or a sudden stop of the

vehicle ahead," see Power v. Hupart,       260 A.D.2d 458, 688

N.Y.S.2d 194, 195 (2d Dep't 1999); see also Pomerantsev v.

Kodinsky, 156 A.D.3d 656,    657, 64 N.Y.S.3d 567      (2d Dep't 2017)

(internal citation omitted)    ("Evidence that a vehicle was struck

in the rear and propelled into the vehicle in front of it may

provide a sufficient non-negligent explanation."). However,

"[i]f the operator cannot come forward with any evidence to

rebut the inference of negligence, the plaintiff may properly be

awarded judgment as a matter of law." Barile v. Lazzarini, 222

A.D.2d 635, 635, N.Y.S.2d 694    (2d Dep't 1995).



          Because Defendant rear-ended the Schultz Vehicle,

there is a rebuttable presumption that Defendant acted

negligently. See Polonia, 2012 WL 2376467, at *3. This

presumption may be overcome, but only by demonstrating a non-

negligent reason for the collision. See Kyrnski,         707 F. Supp. 2d

at 322. While there is no all-encompassing list of non-negligent

justifications sufficient to overcome this presumption,

Defendant has not provided such a non-negligent explanation for

the accident.



          Here, Defendant testifies that he was driving in the

right lane of Central Park West when the vehicle directly in

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front of his swerved suddenly into the left lane.               (See Chen Aff.

~   5.) At that point, Defendant spotted the Schultz Vehicle

double parked in the right lane, and was unable to stop before

striking it.    (See id.   ~   6.)



            In Silberman v. Surrey Cadillac Limousine Service,

Inc.,   109 A.D.2d 833, 833, 486 N.Y.S.2d 357         (2d Dep't 1985), the

Appellate Court affirmed the lower court's grant of summary

judgment for the plaintiff because the only explanation the

defendant driver provided for why he rear-ended the plaintiff

was that the plaintiff's vehicle "stopped suddenly and without

warning." The court held that the defendant was under a "duty to

maintain a safe distance between the two vehicles (see Vehicle

and Traffic Law§ 1129(a)) and his failure to do so, in the

absence of an adequate, non-negligent explanation, constituted

negligence as a matter of law." Id.



            Likewise, in Rue v. Stokes, 191 A.D.2d 245, 246, 594

N.Y.S.2d 749 (1st Dep't 1993), the court held that unrebutted

sworn testimony that a vehicle had been at a complete stop for

several seconds when it was struck in the rear by defendant's

vehicle was sufficient as a matter of law to place sole

responsibility for the accident on the defendant. Similarly, in

Johnson v. Phillips, 261 A.D.2d 269, 272,          690 N.Y.S.2d 545 (1st

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Dep't 1999), the court held that summary judgment for the

plaintiff was proper where "the unrebutted evidence was that the

car in which plaintiff was a passenger stopped for approximately

five seconds before it was struck in the rear by defendant's

vehicle."



            The same reasoning applies to the present action.

Although Defendant claims that the Schultz Vehicle was

unlawfully stopped in the right lane, "summary judgment should

still be granted because of [Defendant's] failure to maintain a

safe distance between the two vehicles." See Polonia, 2012 WL

2376467, at *5. While Defendant argues that he cannot be in

violation of Section 1129(a) because "at no time prior to the

accident was the defendant 'following' the vehicle in which

plaintiff was a passenger," this is a misguided reading of the

statute.    ( See Def.' s Br. 3.) Rather, Section 112 9 (a)    "imposes

the duty to be aware of traffic conditions, including other

vehicles suddenly stopping or slowing down." Matias v. Grose,

123 A.D.3d 485,    486,   999 N.Y.S.2d 14   (1st Dep't 2014)     (citing

N.Y. Veh.   & Traf. Law§ 1129).



            Defendant avers that Section 1202(a) of the Vehicle

and Traffic law raises a triable issue of fact as to whether the

Schultz Vehicle was lawfully parked in front of 350 Central Park

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West.   (See Def.'s Br. 3-5.) Section 1202(a) provides, in

relevant part, that "Except when necessary to avoid conflict

with other traffic, or when in compliance with law                                       no

person shall .              [s]top, stand or park a vehicle                              [o]n

the roadway side of any vehicle stopped, standing or parked at

the edge or curb of a street." N.Y. Veh. & Traf. Law§ 1202(a).

"It is well settled that owners of improperly parked vehicles

may be held liable to plaintiffs injured by negligent drivers of

other vehicles, depending on the determinations by the trier of

fact of the issues of foreseeability and proximate cause unique

to the particular cases." Boehm v.                   Telfer, 2 50 A. D. 2d 97 5, 97 6,

672 N.Y.S.2d 959 (3d Dep't 1998)                    (internal citatio.n and

alteration omitted).



           Here, the parties do not contest that the Schultz

Vehicle was stopped in traffic in front of 350 Central Park

West.   (See B. Schultz Aff.       c_j[c_j[   4,   6, 8; P. Schultz Aff.      c_j[c_j[    4,    6,

8; Chen Aff.   c_j[   5.)   Defendant has proffered no evidence

supporting that the Schultz Vehicle was unlawfully or improperly

stopped at 350 Central Park West. Accordingly, no triable issue

of fact has been raised suggesting the Schultz Vehicle was

unlawfully parked, so Section 1202(a) does not apply. See also

Silberman, 109 A.D.2d 833, 833-34                    (citing Kiernan v. Edwards,                 97

A.D.2d 750, 468 N.Y.S.2d 381 (2d Dep't 1983))                     ("Nor is the right

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of an innocent passenger to summary judgment in any way

restricted by questions of comparative negligence which may

exist as between appellants and the driver of the vehic l e in

front.").



            Moreover, this situation is not one in which Defendant

may seek defense under the emergency doctrine. "The emergency

doctrine is an affirmative defense that can be used to cut off

liability for negligence." Polonia, 2012 WL 2376467, at *5. It

"recognizes that when an actor is faced with a sudden and

unexpected circumstance which leaves little or no time for

thought, deliberation or consideration .         . the action may not

be negligent if the actions taken are reasonable and prudent in

the emergency context." Rivera v. New York City Transit Auth. ,

77 N.Y.2d 322 , 327 , 567 N.Y.S.2d 629 (2000) . This doctrine

"applies only to circumstances when an actor is confronted by a

sudden and unforeseen occurrence not of the actor's own making."

Jacobellis v. New York State Thruway Auth., 51 A.D.3d 976 . 977

(2d Dep't 2008); see also Ferrer v. Harris,       55 N.Y.2d 285 , 289-

90, 449 N.Y.S.2d 162 (1982)    (holding that emergency doctrine

applied in the instance where a four-year old child ran in front

of Defendant's vehicle because a child darting out into the

middle of the street is not an ordinary occurrence that is to be

reasonably anticipated by a driver). However, the emergency

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doctrine does not apply to situations like the one here where

"the defendant driver should reasonably have anticipated and

been prepared to deal with the situation with which he was

confronted." Muye v. Liben, 282 A.D.2d 661, 662, 723 N.Y.S.2d

510 (2001)    (alteration omitted); see also Polonia, 2012 WL

2376467, at *6 (noting that the emergency doctrine is

inapplicable where the defendant "himself created the emergency

situation by failing to maintain a reasonably safe rate of speed

and control over his vehicle and his failure to fully pay

attention to what was going on in his surroundings.").




V.    Conclusion



             For the foregoing reasons, Plaintiff's motion for

summary judgment is granted.



             It is so ordered.



New York, NY
March /..t), 2018




                                              U.S.D.J.



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